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                                            IN THE UNITED STATES DISTRICT COURT
                 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                      SAN JOSE DIVISION
            10
                     MATT JONES, BRYSON DECHAMBEAU,                    CASE NO. 5:22-cv-04486-BLF
            11       PETER UIHLEIN, and LIV GOLF INC.,
                                                                       [PROPOSED] ORDER REGARDING
            12                        Plaintiffs,                      PLAINTIFF LIV GOLF INC.’S
                                                                       ADMINISTRATIVE MOTION TO
            13             v.                                          CONSIDER WHETHER ANOTHER
                                                                       PARTY’S MATERIAL SHOULD BE
            14       PGA TOUR, INC.,                                   SEALED

            15                        Defendant and Counter-
                                      Plaintiff,
            16
                           v.
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                     LIV GOLF INC.,
            18
                                      Counter-Defendant.
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Gibson, Dunn &
 Crutcher LLP

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                                                           [PROPOSED] ORDER
                          Case 5:22-cv-04486-BLF Document 176-5 Filed 12/12/22 Page 2 of 2



                 1          The Court, having considered LIV Golf’s Administrative Motion To Consider Whether
                 2   Another Party’s Material Should Be Sealed, hereby orders as follows:
                 3          The Court DENIES the Administrative Motion to Consider Whether Another Party’s Materials
                 4   Should Be Sealed. The Court’s decision as to each document is located in the chart below.
                 5

                 6    Document                 Text to be Sealed                 Basis for Sealing
                      Joint Statement          Highlighted Portions at           None
                 7                             1:20-21
                                               2:10-11
                 8                             2:22-24
                 9                             2:24-26
                      Exhibit A                Entirety                          None
            10        Exhibit B                Entirety                          None
                      Exhibit C                Highlighted Portions              None
            11

            12       IT IS SO ORDERED.
            13

            14       DATED: _____________________               ______________________________________
                                                                SUSAN VAN KEULEN
            15
                                                                United States Magistrate Judge
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Gibson, Dunn &
 Crutcher LLP

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                                                           [PROPOSED] ORDER
